Case 09-10138-MFW Doc 1495-2 Filed 09/15/09 Page1of4

EXHIBIT A

Case 09-10138-MFW Doc 1495-2 Filed 09/15/09 Page 2of4
Curis
coll

B10 (Official Form 10) (12/08)

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE "PROOF OF CLAIM

Name of Debtor: Case Number:
NORTEL NETWORKS INC. 09-10138

NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A request.of payment of an

administrative expense may be filed pursuant.to 11 U.S.C. § 503.

Name of Creditor (The person or other entity to whom the debtor owes money or property): O Check this box to indicate that this
* Department of the Treasury - Internal Revenue Service claim amends a previously filed
Name and address where notices should be sent: claim.
Interna] Revenue Service : Court Claim Number:
P.O. Box 21126 (f known) 7
Philadelphia, PA 19114
Filed on:

Telephone number; 1-800-913-9358 Creditor Number:

Name and address where payments should be sent (if different from above): QO Check this box if you are aware that
Internal Revenue Service anyone else has filed a proof of claim
1352 MARROWS ROAD, STE 204 relating to your claim. Attach copy of

- NEWARK, DE 19711-5445 __ Statement giving particulars.

Check this box if you are the debtor

Telephone Number: (302) 286-1559 or trustee in this case.

1. Amount of Claim as of Date Case Filed: $_15,042,552.67 5. Amount of Claim Entitled to

Priority under 11 U.S.C. §507(a). If
any portion of your claim falls in
one of the following categories,
check the box and state the
amount,

If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsecured, do not complete
item 4.

If all or part of your claim is entitled to priority, complete item 5.
™@ Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach Specify the priority of the claim.

itemized statement of interest or charges.
O Domestic support obligations under

2. Basis for Claim: Taxes nO 11 U.S.C. §507(a)(1)(A) or (a)(1)(B). ©
(Sce instruction #2 on reverse side.)
3. Last four digits of any number by which creditor identifies debtor: See Attachment 2 Wages, salaries, or commissions (up
to $10,950*) earned within 180 days
3a. Debtor may have scheduled account as; before filing of the bankruptcy
(Sec instruction #3a on reverse side.) petition or cessation of the debtor's

4. Secured Claim (Sec instruction #4 on reverse side.) pues, whichever is earlier - 11
Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the “S.C. $507 (a)(4).
requested information. O Contributions to an employee benefit
plan -11 U.S.C. §507 (a)(5).

Nature of property or right of setoff: OReal Estate O Motor Vehicle O Other /
Describe: O Up to $2,425* of deposits toward
purchase, lease, or rental of property
Value of Property:$ Annual Interest Rate % or services for personal, family, or
TT household use - 11 U.S.C. §507
Amount of arrearage and other charges as of time case filed included in secured claim, (a)(7).
if any: $ . Basis for perfection: i Taxes or penalties owed to
. governmental units - 1] U.S.C. §507
Amount of Secured Claim: $ Amount Unsecured: So (a)(8).
6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim. C Other - Specify applicable paragraph
src sates 11 U.S.C, (_).
7. Documents: Attach redacted ¢ Filed: USBC - District of Delaware iOry notes, / of . S.C $907 (@_)
purchase orders, invoices, itemizt Nortel Networks Inc., Et A. ages, and security Amount entitled to priority:
agreements. You may also attach 09-10128 (KG) 0000000250 ‘idence of
perfection of a security interest. } an of "redacted" on $ 15,032,552.67
reverse side.) \
DO NOT SEND ORIGINAL Dt | Ht Ul | | | LOYED AFTER *Amounis are subject to adjustment on
SCANNING. . 4/1/10 and every 3 years thereafter with
/ respect to cases commenced on or after
If the documents arc not available, please explain: the date of adjustment.
Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the FOR COURT USE ONLY
Date: 02/11/2009 | creditor or other person authorized to file this claim and state address and telephone number if F LED / R EG i f E D
different from the notice address above. Attach copy of power of attorney, if any. . —
/s/M. JAMES, Internal Revenue Service
REVENUE OFFICER/ADVISOR 1352 MARROWS ROAD, STE 204 FEB 1 3 2009
(302) 286-1559 NEWARK, DE 19711-5445

Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 1 USS 4 Bite early SOLUTIONS. LLC
. 4 vv + y ede ke

Case 09-10138-MFW Doc 1495-2 Filed 09/15/09 Page 3of4

Proof of Claim for
Internal Revenue Taxes

Department of the Treasury/Internal Revenue Service

In the Matter of: NORTEL NETWORKS INC.
2221 LAKESIDE BOULEVARD
RICHARDSON, TX 75082

Form 10
Attachment

Case Number
09-10138

Type of Bankruptcy Case
CHAPTER 11

Date of Petition
01/14/2009

The United States has not identified a right of setoff or counterclaim. However, this determination is based on available data and is not

intended to waive any right to setoff against this claim debts owed to this debtor b
are preserved and will be asserted to the extent lawful.

y this or any other federal agancy. All rights of setoff

Unsecured Priority Claims under section 507(a)(8) of the Bankruptcy Code

Taxpayer

ID Number Kind of Tax Tax Period Date Tax Assessed
XX-XXX6332  CORP-INC 12/31/1998 ! Pending Examination
XX-XXX6332 CORP-INC 12/31/2001 ! Pending Examination
XX-XXX6332  CORP-INC 12/31/2002 7 Pending Examination
XX-XXX6332 CORP-INC 12/31/2003 I Pending Examination
XX-XXX6332.  CORP-INC 12/31/2004 I Pending Examination
XX-XXX6332  CORP-INC 12/31/2005 1 Pending Examination
XX-XXX6332 - CORP-INC 12/31/2007 1 Pending Examination
XX-XXX6332 EXCISE 09/30/2008 2 Unassessed-No Retum
XX-XXX6332. 0 WT-FICA - 12/31/2008 2  Unassessed-No Return
XX-XXX6332 EXCISE 12/31/2008 2  Unassessed-No Retum
XX-XXX6332 FUTA 12/31/2008 2  Unassessed-No Retum
XX-XXX6332. WH FED INC 12/31/2008 2  Unassessed-No Retum
XX-XXX6332 EXCISE 03/31/2009 3 Unassessed Liability

Total Amount of Unsecured Priority Claims:

Interest to

Tax Due Petition Date
$5,000.00 $0.00
$5,000.00 $0.00
$5,000.00 $0.00
$5,000.00 $0.00
$5,000.00 $0.00
$5,000.00 $0.00
$5,000.00 $0.00

$16,607.47 $199.09
$14,894,921.00 $0.00
$16,607.47 $0.00
$66,420.17 $0.00
$424.97 $0.00
$2,372.50 $0.00
$15,032,353,58 $199.09

Unsecured General Claims

Taxpayer

ID Number Kind of Tax Tax Period Date Tax Assessed
XX-XXXK6332 CORP-INC 12/31/1999 J Pending Examination
XXK-XXKK6332 CORP-INC 12/31/2000 7 Pending Examination

Total Amount of Unsecured General Claims:

1 PROPOSED TAX DEFICIENCY DETERMINED BY EXAMINATION OF DEBTOR(S) TAX RETURN.

Interest to

Tax Due Petition Date
$5,000.00 $0.00
$5,000.00 $0.00

$10,000.00 $0.00

2 UNASSESSED TAX LIABILITY(IES) HAVE BEEN LISTED ON THIS CLAIM BECAUSE OUR RECORDS SHOW NO RETURN(S) FILED. WHEN THE DEBTOR(S) FILES THE RETURN OR PROVIDES OTHER INFORMATION

AS REQUIRED BY LAW THE CLAIM WILL BE AMENDED ‘

3 THE ABOVE LIABILITY HAS BEEN LISTED AS A POTENTIAL LIABILTITY FOR THE DEBTOR QUE TO DEBTOR'S FAILURE TO MAKE REQUIRED TAX DEPOSITS. AS SOON THE DEBTOR FILES THE RETURN

Page 1 of 1
Case 09-10138-MFW Doc 1495-2 Filed 09/15/09 Page 4 of 4

. Fe

pz

= 7. =] TE “aL 9 rf sa] af. 24 Pnasioo1 oyias fae patn mn a openeisi., ge
ANNALS 40 21¥g ae

Lia) v4 oy Jon val

TH oil “Bag Soy hse

wa

_. 2 £90 eto} eeeve SUP ZL

oy “Yl hyenre 4idz ,
7 ee NEW.
EVEN

qu smouVW zset |
~aomuas anand TWNULN

snows”

oy Fe *

(idioma

SHP ZL
“ runing Avaunuys.

jdde ayy 404 sayez Surpuodsaizo> |
3J0Us JO punod auo BujySjann
if “sa2uues sty Aeg pug sap soy .

EO)

“905 adojaaua si sn jou, oa

*Oopys sry ‘uo Suauinsop Burddus hiddy .

— y Ti

ee eee ee eee

SCS Ee ON ety Con:

a a RAS

eee? UR ‘ssandxy apy PHOM Saf Jog <

hb 10} sores Suipuedseuos anh
5:10 UR) JayI0 sway SuuleIO3"
OFSDIAS 5] ADAIRS JIy AEG IKON
104)99}8 pue ‘suawnaop juABIN
Jodsaxo2 Ssautsng ‘srapay Sujuyejuo> sadojaaua Joy

Sjam ou % aan ‘SBDIAIES Ty Aeg VON Sdn 4 .

etn te

oo'san sia 4 uss: 2bL-008- ‘L) a$dN-N1d-008- £ HeS

8. ynwitea poz san”
Bot wSSO10X9 BPIMPLION Saf

ly deq PN sdn

SaDIAsas SujMo}joj BY) YUM asn 104 sy-adojaaua Siu *

